Case 7:16-cv-00410-NKM-RSB Document 36 Filed 01/04/17 Page 1 of 6 Pageid#: 151



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                IN THE UNITED STATES DISTRICT CQURT T yllso '
                          W ESTeRN DISTRICT OF VIRGINIA                   JAv ns 9nf2
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 JOSEPH FLEM ING,                                                            w
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 V.                                       civilAction No.,t:16zcv-00410

 HAROLD W .CLARKE#etal,
       péfendantts)

   REQUEST FOR ADMISSION: FROM DEFiNDANT JOHN WALRATH
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       Com es now the Plainti'                          (
                                          ,             nj,proper,'jursuantto
                                              JoiephFleml
 FederalRulespfCivilProcedure,Rule26(B)(iv)and RuIe.36,and
 respectfully requests DefendantJohn F alrath to admitordenythe truth of
 thefollowing statementsq.orobjectto answering and state the groundsfor
 the objection.PursuanttoRule 3643):
       ''A m atteris adm itted unless,within 30 day: afterbeing served,the
       pady to w hom thè requestis directed serves on the'requesting pady
       a written answerorobjection addressed to,the matterand signed by
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       the pady orits attorney.''
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  Fudherm ore,Rul
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       ''Ifa mattprisnotaàmitted,the answermustspecifiiallydeny itor
       state in detailw hy the answ ering pady cannottruthfully adm itordeny
       it.A denialm ustfairly respbnd to the substpnce ofthe m atter',and
       w hen good faith requires thata pady qualify an answ erordeny only a
       pad ofa m atter,the answerm ustspecify the pad adm itted and
       qualify ordeny the rest,The answering pady m ay assed Iack of
       know ledge orinform ation as a reason forfailing to adm itordeny only
       ifthe pady sjates thatithas made reasonable inquiry and thatthe
Case 7:16-cv-00410-NKM-RSB Document 36 Filed 01/04/17 Page 2 of 6 Pageid#: 152




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                          3.W alrathW4sthe per>onresponsibleforimplementingtiepoliciesand '
         Proceduresgoverninqtheàailyèperations'ofRNCC duringNovemberand
         Decem berof2015.

                          4.W alrathwas the person responsible fortraining the security Q#iters                                                                                                              '
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          atRNCC during Novem berand Decem berof2015.
Case 7:16-cv-00410-NKM-RSB Document 36 Filed 01/04/17 Page 3 of 6 Pageid#: 153




             5.Walrathw;>thepersonresponsidlqforimplementingthepqlicyand
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              8.W alrath w@: responiible forthe custody andcire ofprisoners
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                  11.'                         W alrath was m ade aware ofthe factstated in num bér10 above

     before Flem ing w as transferred to RNCC.
Case 7:16-cv-00410-NKM-RSB Document 36 Filed 01/04/17 Page 4 of 6 Pageid#: 154



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                   This hereby ends the requested adm issions forDefendantJohn W alrath, '

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